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IN THE UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF COLUMBIA

DR. JOHN HAGELIN, DR. MIKE
TOMPKINS, and the NATURAL
LAW PARTY OF THE

UNITED STATES OF AMERICA,

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' Plaintiffs,

VS.

FEDERAL ELECTION COMMISSION AND
COMMISSION ON PRESIDENTIAL

DEBATES
Defendants.
Serve:

Federal Election Commission
999 E Street N.W.
Washington, D.C. 20463

Commission on Presidential Debates
c\o Registered Agent Janet Brown
601 13th Street N.W.

Washington, D.C. 20005

United States Attorney
Eric Holder

555 4th Street N.W.
Washington, D.C. 20001

Cause No.

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CASE NUMBER 1:96CV02132
JUDGE: Thomas F. Hogan
DECK TYPE: TRO/Preliminary Injunction

DATE STAMP: 09/13/96

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VERIFIED COMPLAINT

Come now Dr. John Hagelin, Dr. Mike Tompkins, and the Natural Law Party of the

United States of America and for their Verified Complaint against defendants aver as follows:
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THE PARTIES

1. Plaintiff Dr. John Hagelin ("Hagelin") is a natural born citizen of the United States,
is qualified under the United States Constitution to hold the office of President of the United States
of America, and is the duly nominated candidate of the Natural Law Party of the United States
of America ("NLP") for that office. Hagelin has qualified for federal matching funds for the 1996
election, and will appear on the ballots of no fewer than forty-two states and the District of
Columbia in the 1996 general election. Hagelin is eligible for write-in voting in three other states,
and litigation is pending regarding his qualification in four remaining states.

a Plaintiff Dr. Mike Tompkins is a natural born citizen of the United States, is
qualified under the United States Constitution to hold the office of Vice President of the United
States of America, and is the duly nominated candidate of the NLP for that office. Tompkins is
on the ballot coextensive with Hagelin, and similarly has qualified for matching federal funds.

3. Plaintiff NLP is a non-profit corporation organized and existing under the laws of
the State of Iowa. The Federal Election Commission ("FEC") acknowledged that the NLP
achieved national party status in FEC Advisory Opinion 1992-30, dated September 21, 1992. The
NLP has qualified for federal matching funds for the 1996 election. The NLP's candidates will
appear on the ballots of no fewer than forty-three states in the 1996 general election. The NLP
is currently seeking, through pending litigation, to gain access to the ballots of four other states,
and for the remaining three states its candidates have qualified as write-in candidates.

4. Defendant The Commission on Presidential Debates is a non-profit domestic
corporation incorporated in the District of Columbia in 1987 ("CPD"). On November 26, 1985,
the Democratic and Republican National Committees executed a Memorandum of Understanding

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stating that they would work together to eliminate the League of Women Voters' traditional role
as the sponsor of presidential debates, and to replace the League's debates with "nationally
televised joint appearances between the presidential and vice presidential nominees of the two
major parties... ." Fifteen months later, those dominant parties issued a joint press release
announcing the incorporation of the CPD. The release declared that the CPD was a "bipartisan"
organization and that it was "formed to implement joint sponsorship of general
election...debates...by the national Republican and Democratic Committees between their
respective nominees." From its inception, the CPD has been co-chaired by one former
Chairperson of the Republican National Committee and one former Chairperson of the Democratic
National Committee.

5. The Federal Election Commission ("FEC") is an administrative agency of the
United States government created pursuant to the Federal Election Commission Act (the "Act"),
2 U.S.C. §437c.

JURISDICTION AND VENUE

6. Plaintiffs have jurisdiction and venue in this Court pursuant to 42 U.S.C. §1331
and 2 U.S.C. §437g(a)(8)(A), and 28 U.S.C. §2201.

7. Plaintiffs have standing as parties injured by the violation of the Act, as an

"aggrieved party" and as a national committee of a political party under the Act.

HI AR T H D
8. In July, 1987, the CPD formed an advisory committee to formulate criteria for

selecting candidates for its debates. The advisory committee recommended that the CPD invite

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only candidates who had a "realistic chance" of winning the general election. The committee's
report stated that "the [Theodore] Roosevelt example [in 1912] stands alone in the 20th century"
as a third-party candidate who would satisfy this criterion. Theodore Roosevelt, of course, had
previously been elected and served as President of the United States.

9. As of July, 1988, the CPD had not even bothered to inform the public or third
parties of the "realistic chance" criterion recommended by its advisory committee. It automatically
invited the Democratic and Republican candidates without requiring that they apply, while third-
party candidates were offered no application procedure. Only in response to demands from
independent candidate Dr. Lenora Fulani in August, 1988 did the CPD issue its vague, two-
sentence criterion embodying the "realistic chance of being elected" concept.

10. In 1988, after a year-long battle over debate sponsorship between the League of
Women Voters and the CPD, a compromise was reached under which there would be rotating
sponsorship. The League recoiled, however, when it was presented by the Bush and Dukakis
campaigns with a script for every detail of the staging of the debates, ranging from the selection
of questioners to the color of the timer lights on the podiums. The League resigned, declaring that
to hold itself out as an independent sponsor of such a debate would make it an "accessory to the
hoodwinking of the American public." The CPD immediately offered to sponsor the League's
debate, acquiescing to every specification of the Bush and Dukakis camps.

11. In 1992, the entry of Ross Perot posed a dilemma for the CPD. It was clear that
Ross Perot was not a Theodore Roosevelt in terms of his "realistic chance" of being elected, but
then President Bush insisted on Perot being included in the debates. Bill Clinton finally agreed
to Perot's inclusion, but for the CPD to include Perot would force it to ignore its "realistic

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chance" criterion. To accommodate the major parties, the CPD begrudgingly invited Perot to
participate in the first debate, but Bush and Clinton immediately told the CPD that if it did not
include Perot in every debate then they would find another sponsor for the debates. Once again,
the CPD took its orders from the major parties, and permitted the major parties to determine
which third- party candidates, if any, would be included in the debates.
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12. ‘Effective March 13, 1996, the FEC required that every organization staging a

presidential debate (such as the CPD) comply with very simple and straightforward candidate-
selection criteria, namely:

For all debates, staging organization(s) must use pre-established

objective criteria to determine which candidates may participate in

a debate.

For general election debates, staging organization(s) shall not use

nomination by a particular political party as the sole objective

criterion to determine whether to include a candidate in a debate.

11 CFR § 110.13(c).

13.  Indefiance of this clear regulatory requirement, the CPD persisted in following its

largely subjective selection criteria, set forth at Exhibit 1 hereto, adopted by the CPD in late 1995.
In these selection criteria, the CPD gives an automatic invitation to the nominees of the
Republican and Democratic parties, even though the governing FEC regulation expressly
proscribes such a singular criterion. Specifically, the CPD's selection criteria provide that:

A Democratic or Republican nominee has been elected to the

Presidency for more than a century. Such historical prominence and

sustained voter interest warrants the extension of an invitation to the

respective nominees of the two major parties to participate in the
Commission's 1996 debates.
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14. Moreover, the remainder of the overwhelmingly subjective criteria are to be applied
only in determining which "nonmajor" party candidates, if any, will be invited to participate in
the 1996 debates. The gist of the subjective criteria: invite only those candidates who, in the
opinion of the CPD have a realistic chance of being elected the next President and who "properly
are considered to be among the principal rivals for the Presidency."

15. | The CPD acknowledges in the introduction to its selection criteria "contemplate no
quantitative threshold" for debate inclusion:

Rather, the Commission will employ a multifaceted analysis potential
electoral success, including a review of (1) evidence of national
organization, (2) signs of national newsworthiness and competitiveness, and
(3) indicators of national enthusiasm or concern, to determine whether a
candidate has a sufficient chance of election to warrant inclusion in one or
more of its debates.

16. _ It is important to note that some the CPD's selection criteria are clearly objective
and satisfy the FEC regulation. Specifically, in the CPD's consideration of "evidence of national

organization", the CPD says it will consider the following factors:

a. Satisfaction of the eligibility requirements of Article II, Section 1
of the Constitution of the United States.

b. Placement on the ballot in enough states to have a mathematical

chance of obtaining an electoral college majority.
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d. Eligibility for matching funds from the Federal Election
Commission....

17. Plaintiffs Hagelin and Tompkins easily satisfy all of these objective requirements,
and is among at most only three to four other candidates nationally who satisfy these objective

criteria.
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18. Other than those objective criteria, which the General Counsel to the FEC had
suggested in would comply with the governing regulation, the rest of the criteria are baldly
subjective. For example, in assessing signs of "national newsworthiness and competitiveness," the
Commission promises to endeavor to assess the "professional opinions of Washington bureau
chiefs of major newspapers, news magazines, and broadcast networks." It will also consider the
opinions of "representative" political scientists at major universities, and, most scientifically, it
will canvass the opinions of professional campaign managers and pollsters not then employed by
the candidates! To such an amorphous group would be left the task of assessing whether
candidates, past or present, such as, John Anderson, John Hagelin, Eugene McCarthy, George
Wallace, and Ross Perot, should be invited to a debate hosted by an organization created by the
two major parties.

19. The selection criteria not only "endeavor" to assess the subjective opinions swings
of political pollsters, it also attempts to probe the "indicators of national public enthusiasm or
concern." Such indicators include the findings of public opinions polls deemed to be "significant"
to the Democrats and Republicans on the CPD.

20. Not surprisingly, one of the five members of the CPD advisory panel, which is now
reading the tea leaves of pundit, pollster, and public opinion, is reported to have recently admitted
that "There's no way when you're dealing with human beings to remove subjectivity." See St.
Louis Post-Dispatch, September 8, 1996.

21. There is also no way the CPD will voluntarily invite third parties to the staged
event that was designed, from its inception, to be a debate between only the major party
nominees. As further evidence that the leadership of the CPD has decided who shall debate even

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before its advisory panel gives its report to the group, the co-chairs declared at a PBS press event
in Chicago on August -- ,1996 that the participation of third party candidates such as Ross Perot
and Harry Browne (Libertarian Party) is unlikely in 1996. On September 10, 1996, the CPD co-
chair announced on C-Span that none of the third-party candidates would be invited to the debates.
THE FEC’S PARALYSIS

22. | The FEC has since the effective date of the §110.13 in June 1996, has apparently
taken no action to enforce this requirement despite CPD's open and notorious pronouncement of
unlawful subjective criteria. On August 23, 1996, Hagelin and Tompkins were nominated as the
Presidential candidates of the NLP. Thereafter, on September 5, 1996, the NLP filed its
complaint with the FEC challenging the CPD's application of the impermissible subjective
standards. Notwithstanding the plain violation of the governing regulation, the FEC advised the
NLP that it would be unable to make a determination in response to the NLP complaint prior to
the staging of the first debate. Moreover, the procedural rules governing the FEC make it
impossible for that agency to act on the NLP complaint prior to the upcoming general election.
In other words, resort to the administrative review procedures of the FEC will be a useless and
a meaningless formality and will provide no adequate remedy to Plaintiffs. Under these
circumstances, the FEC's failure to act was contrary to law, has deprived Plaintiffs of its rights
under the Act, and further exhaustion of procedures before the FEC will permanently deprive

Plaintiffs of their right to a remedy for CPD's unlawful actions.
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COUNT I

23. Plaintiffs incorporate by reference herein the allegations of paragraphs 1 through
22 above.

24. — The illegal conduct of the CPD threatens Plaintiffs and the American public with
immediate and irreparable injury for which there is no adequate remedy at law. Application of
the unlawful subjective criteria will taint the presidential and vice presidential debates, exclude
legitimate candidates of recognized national parties, stifle the flow of information to the voting
public, and will inevitably influence and distort the results of the upcoming general election.

25. An award of money or other legal remedies or procedures will not redress the
threatened damage to Plaintiffs and the electoral process.

26. Prohibiting the CPD from applying the proscribed subjective standards, and
conversely requiring them to appropriately apply the pre-existing objective standards, will not
deprive the CPD of any lawful rights or prerogatives. Rather, such a remedy would simply
require the CPD to do that which the law already plainly requires, thus no legitimate interests of
the CPD would be impaired by the entry of the requested injunctive relief.

27. The public interest is profoundly served by the entry of a temporary restraining
order and preliminary injunctive relief prohibiting the CPD from engaging in the threatened legal
conduct. The requested injunctive relief will result in the electorate being exposed to the broad
range of opinions and ideas of the national political parties, major and non-major, which
information will permit voters to make more fully informed decisions on who shall lead the

country into the 21st century.
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WHEREFORE, Plaintiffs pray this Court enter its temporary restraining order and grant
preliminary and permanent injunctive relief as follows:

(a) Prohibit the CPD from applying any of its selection criteria other than those
objective criteria expressly set forth in paragraph 14 above;

(b) Require the CPD to use pre-existing objective criteria as required by the
regulation;

(c) Provide this Court with a written report of its determination of eligibility for debate
participation under the permissible pre-existing objective criteria,

and for such other and further relief as this Court may deem just and proper.
Til
ive Injunctive Relief Agai FE

28. Plaintiffs adopt and incorporate by reference herein the allegations of paragraphs
1 through 27 above.

29. It is within this Court's jurisdiction to order the FEC to render a decision on CPD's
violation immediately and to perform its duties in such a time and manner as to make the
administrative procedures available to Plaintiffs prior to the staging of the first Presidential debate.

WHEREFORE, as an alternative to the injunctive relief requested in Count I, Plaintiffs
pray this Court enter its order requiring the FEC to immediately act on Plaintiffs complaint
against the CPD, to rule on the legality of the subjective criteria promulgated by the CPD, and
to do the foregoing in such a time and manner as to permit this Court's review prior to the staging

of the first debate, and for such other and further relief as this Court may deem just and proper.

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COUNT II
Declaratory Relief
30. Plaintiffs incorporate by reference herein the allegations of paragraph 1 through 29
above.
31. On the basis of the foregoing, there exists a present justiciable controversy between
the parties.

WHEREFORE, Plaintiffs pray this Court declare that the subjective debate selection
criteria promulgated by the CPD are unlawful and contrary to the plain regulatory requirements
of 11 C.F.R. §110.13(c), and for such other and further relief as this Court may deem just and
proper.

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I declare under penalty of perjury that the foregoing is true and correct.

Executed on 4 ( [ X , 1996.

Via Certified Mail

Attorney General of the United States
United States Department of Justice
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10th & Constitution Avenue N.W.
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NATURAL LAW PARTY OF THE
UNITED STATES OF AMERICA

By: Cpe Rail
Kingsley Brooké
its Party Chair

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